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                                 (pro hac vice application to be filed)
                            10
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                            11
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                            12                               UNITED STATES DISTRICT COURT
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13
                                                                  SACRAMENTO DIVISION
                            14
                                 E.L., a minor, by and through her general        Case No. 2:22-cv-01527-DAD-AC
                            15   guardian, JESSICA LONG; JESSICA LONG, an
                                 individual,
                            16                    Plaintiffs,
                                           v.                                     PLAINTIFF JESSICA LONG’S
                            17   LIEUTENANT JERRY FERNANDEZ,                      STATEMENT OF DISCOVERY
                                 individually and in his individual capacity as   DISAGREEMENT RE PRODUCTION OF
                            18
                                 Sheriff for the County of Shasta; DETECTIVE SUBPOENAED DOCUMENTS FROM
                            19   JACOB DUNCAN, individually and in his            NON-PARTY VERIZON RELATED TO
                                 individual capacity as Sheriff for the County of DEFENDANT MELANIE SILVA’S WORK
                            20   Shasta; DETECTIVE JEREMY ASHBEE,                 CELL PHONE (ECF 54) AND PERSONAL
                                 individually and in his individual capacity as   CELL PHONE (ECF 55)
                            21
                                 Sheriff for the County of Shasta; SHASTA
                                 DISTRICT FAIR AND EVENT CENTER, a                [Filed concurrently with Declaration of Ryan
                            22
                                 district agricultural association; COUNTY OF     Gordon in Support]
                            23   SHASTA; SHASTA COUNTY SHERIFF’S
                                 DEPARTMENT; MELANIE SILVA, in her
                            24   individual capacity; BJ MACFARLANE, in his Trial Date: March 24, 2025
                                 individual capacity; KATHIE MUSE, in her
                            25                                                    Action Filed: August 31, 2022
                                 individual and official capacity, and DOES 1
                            26   through 10,
                                                  Defendants.
                            27
                            28
                                                                               1
                                                                       JOINT STATEMENT
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                             1          Pursuant to Local Rule 251(d), Plaintiff Jessica Long (“Mrs. Long”) submits the following

                             2   Joint Statement re Discovery Disagreement, in connection with her motion to compel Non-Party
                             3   Verizon (“Verizon”) to produce documents under Federal Rule of Civil Procedure 45. ECF Nos. 54,

                             4   55.
                             5     I.   CONFERENCES OVER DISCOVERY DISPUTE
                             6          On or about January 19, 2024, Plaintiffs’ counsel spoke to a Verizon representative, who stated
                             7   that any subpoenas for cellular records needed to be faxed to (888) 667-0028. Declaration of Ryan
                             8   Gordon, “Gordon Decl.,” ¶ 44. On or about January 20, 2024, Plaintiffs’ counsel served Verizon with
                             9   a subpoena for Ms. Silva’s work cell phone records (XXX XXX 4949), seeking records for “Any
                            10   records concerning incoming or outgoing calls or texts … from June 25, 2022, through September 1,
                            11   2022, including call logs, call detail records, and text logs.” Id. at ¶ 45. On or about January 25, 2024,
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                            12   Verizon represented to Plaintiffs’ counsel that it will not satisfy the subpoena for Ms. Silva’s personal
                            13   cell phone records due to Public Utilities Code section 2981 and Code of Civil Procedure section
                            14   1985.3(f). Id. at ¶ 45, Ex. 14. Accordingly, Plaintiffs’ counsel understood that the subpoena for the
                            15   records at issue would not be satisfied absent a court order.
                            16          On or about February 26, 2024, Plaintiffs’ counsel served Verizon with a subpoena for Ms.
                            17   Silva’s personal cell phone records (XXX XXX 0058), seeking records for “Any records concerning
                            18   incoming or outgoing calls or texts … from June 25, 2022, through September 1, 2022, including call
                            19   logs, call detail records, and text logs.” Gordon Decl. ¶ 49. However, the initial subpoena contained
                            20   an incorrect number. Id. Plaintiffs’ counsel corrected it on March 5, 2024 and then Verizon responded
                            21   in writing on March 6, 2024, 2024 that it could not produce any records absent a court order for Ms.
                            22   Silva’s personal cell phone records (XXX XXX 0058). Id. at Ex. 17.
                            23          Ms. Silva’s counsel emailed Plaintiffs’ counsel objecting to the subpoena. Gordon Decl. ¶ 47,
                            24   Ex. 15. On March 4, 2024, the parties met and conferred in satisfaction of Hon. Allison Claire’s
                            25   standing order. During the March 4, 2024 meet and confer, Ms. Silva’s counsel requested a protective
                            26   order. Plaintiffs agreed to only use the records in this case and not publish identifying information
                            27   after the Court compels production and are currently awaiting Ms. Silva’s draft protective order.
                            28    II.   NATURE OF ACTION AND INSTANT FACTUAL DISPUTE OVER DISCOVERY
                                                                                    2
                                                                            JOINT STATEMENT
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                             1          On August 31, 2022, Mrs. Long and her minor daughter E.L. filed the underlying civil rights

                             2   litigation, as amended on March 2, 2023, and again on October 12, 2023. ECF Nos. 1, 16, 25 (Second
                             3   Amended Complaint or “SAC”). The SAC includes claims against Shasta District Fair & Events

                             4   Center (“SDF”), CEO Ms. Silva, SDF Livestock Manager Defendant B.J. Macfarlane (“Mr.
                             5   Macfarlane), and 4-H representative Defendant Kathie Muse (“Mrs. Muse”), through § 1983 for
                             6   violations of the Fourth Amendment, ¶¶ 105-110, violations of the Fourteenth Amendment, ¶¶ 111-
                             7   115, and First Amendment Viewpoint Discrimination, ¶¶ 181-188, with additional claims against the
                             8   County of Shasta, Shasta County Sheriff’s Department, Lieutenant Fernandez, Detective Duncan, and
                             9   Detective Ashbee for constitutional violations and other state law claims. See generally SAC.
                            10   Plaintiffs’ claims center around the wrongful search and seizure of Plaintiffs’ goat Cedar, who they
                            11   allege was then ultimately slaughtered without notice and opportunity to be heard in violation of their
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                            12   rights to Due Process, among other things.
                            13          The instant dispute is over Defendant Silva’s cell phone records. Plaintiff Jessica Long (“Mrs.
                            14   Long”) served a subpoena for personal cell phone and work cell phone. Verizon is the carrier for both.
                            15   Verizon refuses to release the phone records absent a court order. Regardless of any protective order,
                            16   Plaintiffs agree not to use Silva’s personal cell records outside of this case.
                            17   III.   PLAINTIFFS CONTEND THE COURT SHOULD COMPEL NON-PARTY VERIZON
                                        TO COMPLY WITH THE RECORDS SUBPOENA FOR PRODUCTION OF
                            18          DOCUMENTS REFLECTING CALLS AND TEXT MESSAGES FOR DEFENDANT
                                        SILVA’S WORK CELL PHONE AND PERSONAL CELL PHONE
                            19
                                        A.      Relevant Facts and Allegations
                            20
                                        In general terms, Plaintiffs claim that Defendants illegally seized and slaughtered their beloved
                            21
                                 goat Cedar in violation of Due Process, among other things. See generally SAC. At the time Plaintiffs
                            22
                                 filed suit, they believed Cedar was illegally slaughtered and eaten at the July 9 government barbecue
                            23
                                 organized by Mrs. Muse. But discovery conducted to date has drastically altered Plaintiffs’
                            24
                                 understanding of the facts.
                            25
                                                 i.     Plaintiffs Withdraw Cedar from SDF Youth Livestock Auction
                            26
                                        Plaintiffs allege that, in April 2022, they purchased E.L. a young male goat who E.L. named
                            27
                                 Cedar. E.L. fed and cared for Cedar every day until almost July 2022, and bonded with Cedar as if he
                            28
                                                                                    3
                                                                            JOINT STATEMENT
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                             1   were a puppy. SAC ¶ 20. Plaintiffs further allege that E.L. enrolled in her local 4-H chapter at that

                             2   time. SAC ¶ 21. On or about June 25, 2022, pursuant to her 4-H program, E.L. exhibited Cedar in the
                             3   junior livestock auction at the annual fair held by SDF. SAC ¶¶ 22-25. Plaintiffs allege that, although

                             4   Defendant Mrs. Muse, on behalf of Senator Brian Dahle and Assemblywoman Megan Dahle, bid on
                             5   Cedar’s meat, no sale of Cedar or his meat occurred. SAC ¶¶ 27-29, 33. Although the Dahles may
                             6   have intended to donate Cedar’s meat to the July 9, 2022 barbecue operated by 4-H (“July 9
                             7   Government Barbecue”), because the sale of Cedar’s meat did not occur, Cedar’s meat was never
                             8   donated. Id. at 40-41. Most saliently, Plaintiffs allege after E.L. participated in the auction, she became
                             9   despondent and emotional. Shortly thereafter that same evening, she sobbed in Cedar’s pen and told
                            10   to her mother she didn’t want him killed. Plaintiffs allege E.L. exercised her statutory rights as a minor
                            11   under California Family Code section 6710 to disaffirm any contract of sale that might have existed,
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                            12   and left the fair with Cedar. Id. at ¶ 35.
                            13                   ii.     Following Cedar’s Withdrawal, SDF Defers to CDFA for Direction
                            14           Following Plaintiffs’ removal of Cedar from SDF fairgrounds, Plaintiffs offered in writing to
                            15   pay for any damages claimed by SDF. Nonetheless, on about June 26, 2022, Defendant Macfarlane
                            16   told Mrs. Long she would be prosecuted for removing Cedar. On June 28 at 9:10 am, Ms. Silva spoke
                            17   on the phone with Mike Francesconi, the Branch Chief of Fairs & Expositions at the California
                            18   Department of Agriculture (CDFA). Gordon Decl. ¶ 4, Ex. 1; id. at ¶ 34, Ex. 8 (Silva Vol. 2 Dep.
                            19   412:18-413:17). Ms. Silva’s handwritten notes reflecting conversation with Mr. Francesconi that day
                            20   state, “[Pick up] goat” and “dont [sic] pursue charges.” Id. at ¶ 34, Ex. 8 (Silva Vol. 2 Dep. 412:18-
                            21   413:17). On June 28 at 1:31 pm, Ms. Silva emailed Mrs. Long, rejecting Mrs. Long’s previously-
                            22   emailed offer to pay damages, explaining, the “social media this has been a negative experience for
                            23   the fairgrounds[,]” and stating, “I have spoken with the California Department of Food and Agriculture
                            24   and they have informed me that for the good of all we have to stick to the State Rules. You will need
                            25   to bring the goat back to the Shasta District Fair immediately.” Id. at ¶ 4(b), Ex. 1 at 4. Shortly
                            26   thereafter, at 3:07 pm, Ms. Silva forwarded her email to Mr. Francesconi, stating, “Hi Mike, I have
                            27   included the response I sent her. I have also updated my Board Member[.]” Id. at ¶ 4(c), Ex. 1 at 3.
                            28   Mr. Francesoni responds at 3:08 pm, “Hello Melanie Did BJ go out to pick up the goat? Thanks
                                                                                      4
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                             1   Mike[.]” Id. at ¶ 4(d), Ex. 1 at 3. Ms. Silva responds within the hour requesting further direction,

                             2   asking “Hi Mike, She is not responding to either of us. Should we involve CHP next?” Id. at ¶ 4(e),
                             3   Ex. 1 at 2. Mr. Francesconi defers to Mr. Flores, telling Ms. Silva on the evening of June 28, “I am

                             4   checking with Michael Flores on how he would like you to proceed. I will let you know when I learn
                             5   more. Thanks Mike[.]” Id. at ¶ 4(f), Ex. 1 at 1.
                             6                iii.       When Mrs. Long Does Not Return Cedar, SDF and CDFA Coordinate
                                                         and Call Shasta County Sheriff’s Department
                             7
                                         On June 29 at 9:06 am, Ms. Silva emailed Mr. Francesconi, “Hi Mike, Please call my cell
                             8
                                 number [omitted] when you call back. We have the phones forwarded since they posted our number
                             9
                                 to instagram.” Gordon Decl. at ¶ 4(g), Ex. 1 at 1. Continuing on a June 29, 8:51 am text thread, Ms.
                            10
                                 Silva texted Mr. Macfarlane, stating, “We are contacting the Sheriff for the goat waiting for a call
                            11
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                                 back[.]” Id. ¶ 5, Ex. 19. This is consistent with other deposition testimony. Mr. Macfarlane testified
                            12
                                 either he or Ms. Silva called Sheriff Johnson to report Ms. Long’s alleged felony theft. Id. at ¶ 26, Ex.
                            13
                                 7 (Macfarlane Dep. Vol. 1 191:23-191:11; 193:04-21). Lieutenant Fernandez testified that at either
                            14
                                 the end of June 2022 or the beginning of July 2022, Sheriff Johnson instructed him to investigate the
                            15
                                 alleged theft of Cedar, and explained Cedar’s removal was a “big deal” with “a lot of the fair boards”
                            16
                                 in California. Id. at ¶ 8, Ex. 3 (Lieut. Fernandez Dep. 77:13-25; 78:10-14; 83:05-14; 277:02-279:09).
                            17
                                 At 9:49 am, Mrs. Long again sent Ms. Silva a second letter, stating, among other things, Cedar was
                            18
                                 Plaintiff E.L.’s personal property; SDF never owned Cedar; grand theft had no basis; and the letter was
                            19
                                 “in anticipation of litigation” of their civil dispute (“Notice of Civil Claim and Intention to Sue”). Id. at ¶
                            20
                                 18.
                            21                iv.        Lieutenant Fernandez and Detective Duncan Drive Over 500 Miles on the
                                                         Evening of July 8 to Illegally Seize Cedar and Turn Him Over for
                            22                           Slaughter
                            23           On June 29 at 12:27 pm, Ms. Silva emailed several documents to Lieut. Fernandez, including
                            24   Mrs. Long’s Notice of Civil Claim and Intention to Sue. Gordon Decl. ¶ 18, Ex. 6 (Silva Dep. Vol. 1
                            25   288:03-23). Thereafter, the night before the July 9 Government Barbecue, Lieutenant Fernandez and
                            26   Detective Duncan drove several hundred miles from Shasta County to Bleating Hearts Sanctuary in
                            27   Napa County on the pretense of a crime to execute the warrant for Cedar’s seizure. SAC ¶ 75. They
                            28   discovered Cedar was not there, ascertained Cedar’s correct location from individuals at Bleating
                                                                                      5
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                             1   Hearts Sanctuary, and then travelled to the Billy’s Mini Farm. Gordon Decl. ¶ 11, Ex. 4 (Det. Duncan

                             2   Dep. 144:25 – 147:17). Once there, Lieutenant Fernandez and Detective Duncan seized Cedar, and, at
                             3   the direction of Mrs. Muse, turned him over to Mr. Macfarlane. Gordon Decl. ¶ 9, Ex. 3 (Fernandez

                             4   Dep. 269:16-270:10). No member of law enforcement or any defendant in this case notified Mrs. Long
                             5   of Cedar’s seizure. Rather, Billy’s Mini Farm informed her of Cedar’s seizure on about July 12, 2022,
                             6   after the July 9 Government Barbecue.
                                               v.       Cedar was Not Slaughtered and Served at the July 9 Government
                             7                          Barbecue for Which Defendants so Fervently Claim He Was Earmarked
                             8          Although Mr. Macfarlane received Cedar at Mrs. Muse’s direction either late at night July 8
                             9   or in the early morning of July 9, Cedar was not eaten at the July 9 Government Barbecue. Rather,
                            10   according to Mrs. Muse, she received replacement meat from another goat from the board of the Shasta
                            11   District Fair. Gordon Decl. ¶ 15, Ex. 5 (Muse Dep. 204:13-205:20).
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                                              vi.      SDF Maintains Possession of Cedar for Weeks Post-Seizure, Awaiting
                            12                         Approval from CDFA, Sheriff’s Department, and District Attorney to
                            13                         Slaughter Cedar—Despite Repeated Contact from Plaintiffs’ Counsel
                                        Neither the Dahles nor Mrs. Muse ever paid for Cedar. Gordon Decl. Gordon Decl. ¶ 35, Ex.
                            14
                                 8 (Silva Vol. 2 Dep. 431:14-20). Nonetheless, Mr. Macfarlane held Cedar until Cedar’s slaughter on
                            15
                                 July 28, 2022. Mr. Macfarlane testified that, from his perspective, he was operating under the direction
                            16
                                 of Ms. Silva, the Sheriff, the CDFA, and the District Attorney. Id. at ¶ 29, Ex. 7 (Macfarlane Dep.
                            17
                                 Vol. 1, 210:25-211:10). Mr. Macfarlane stated that between July 11-25, 2022, he spoke with Sheriff
                            18
                                 Johnson “a couple times maybe.” Id. at ¶ 31, Ex. 7 (Macfarlane Dep. Vol. 1 207:10-22). Mr.
                            19
                                 Macfarlane’s testimony is consistent with a July 11 text message he sent Mrs. Muse, stating, “Good
                            20
                                 morning … Talked to sheriff and he said to wait until he talks to DA before we kill goat.” Id. at ¶ 30,
                            21
                                 Ex. 7 (Macfarlane Dep. Vol. 1, 204:01-205:08). In deposition, Mr. Macfarlane stated, in this text
                            22
                                 message, he was referring to Sheriff Michael Johnson and District Attorney Stephanie Bridgett. Id.
                            23
                                        Mr. Macfarlane also testified he spoke to Ms. Silva “multiple times” through the period of July
                            24
                                 8-28, 2022, as “she was the one that was gearing it, so what -- with the state and the sheriff, so...”
                            25
                                 Gordon Decl. ¶ 28, Ex. 7 (Macfarlane Dep. Vol. 1, 208:25-209:17). Mr. Macfarlane was clear that “I
                            26
                                 don't remember if [Ms. Silva] was the one talking to the sheriff. I think -- I know I did a couple times
                            27
                                 ….” Id. Mr. Macfarlane further stated Ms. Silva instructed him to hold Cedar “Until the state said what
                            28
                                                                                   6
                                                                           JOINT STATEMENT
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                             1   was going to happen.” Id. at ¶ 27, Ex. 7 (Macfarlane Dep. Vol. 1 202:11-203:23). He clarified by “the

                             2   state” he was referring to Mr. Francesconi or the “CDFA’s lawyer.” Id.
                             3          Mrs. Muse also stated individuals at the Sheriff’s Department and District Attorney’s Office

                             4   were involved. She testified “I was told from B.J. that the DAs and the sheriffs office, I don't know
                             5   which department, had told him to make sure that we save the ear tags.” Gordon Decl. ¶ 14, Ex. 5
                             6   (Muse Dep. 201:19-202:08).1 Ms. Silva stated she believed Mr. Macfarlane and Ms. Muse were
                             7   awaiting permission from the DA to slaughter Cedar. Id. at ¶¶ 19-20, Ex. 6 (Silva Dep. Vol. 1, 66:04-
                             8   10; 66:25-67:24; 68:17-22; 329:05-18).
                             9          Within this same period, between July 15-27, 2022, Mrs. Long’s counsel contacted both the
                            10   Sheriff’s Department and Shasta County Counsel multiple times, demanding to know what happened
                            11   to Cedar and that he be kept alive. Gordon Decl. ¶ 43.
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                            12               vii.       Phone Records and Text Messages Produced to Date Suggest Someone
                                                        Gave Ms. Silva the Greenlight to Have Cedar Killed
                            13
                                        On July 22 at 11:17 am, Ms. Silva called Mr. Macfarlane and the two spoke for 4 minutes.
                            14
                                 Gordon Decl. at ¶ 39, Ex. 12. At 11:22 am, Mr. Macfarlane called Mrs. Muse, and the two spoke for
                            15
                                 over 4 minutes. Id. Also at 11:22 am, Mr. Macfarlane texted Ms. Silva, “What’s gals name at bowman?
                            16
                                 Kathy said ok but no one needs to know about this. U me and Kathy are only ones. It got killed and
                            17
                                 donated to non profit if anyone asks.” Id. at ¶ 37, Ex. 10. Ms. Silva responded, “Serene[,]” then “Thank
                            18
                                 you[,]” then “We are a non profit              [.]” Id. At 11:29 am, Mr. Macfarlane called Bowman
                            19
                                 Meat Company, and arranged for Cedar’s slaughter. Id. at ¶ 39, Ex. 12. Bowman Meat Company killed
                            20
                                 Cedar on July 28. To date, neither Ms. Silva, Mr. Macfarlane, nor Mrs. Muse have offered any credible
                            21
                                 testimony as to who greenlit Cedar’s death, or who, if anyone, received Cedar’s meat. Ms. Silva, Mr.
                            22
                                 Macfarlane, and Mrs. Muse all originally stated they did not know who received Cedar’s meat. Gordon
                            23
                                 Decl. ¶ 16, Ex. 5 (Muse Dep. 235:19-236:10); id. at ¶¶ 19-23, Ex. 6 (Silva Dep. Vol. 1, 62:22 -63:03;
                            24
                                 66:04-10; 66:25-67:24; 68:17-22; 329:05-18). In his second deposition, Mr. Macfarlane claimed his
                            25
                                 memory was refreshed and that Vista Real Estate received Cedar’s meat. Id. at ¶ 42(a), Ex. 13
                            26
                                 (Macfarlane Dep. Vol. 2, 349:24-350:09).
                            27
                                 1
                                         By contrast, Mr. Macfarlane testified that Mrs. Muse told him to save Cedar’s ear tags. Gordon
                            28   Decl. ¶ 32, Ex. 7 (Macfarlane Dep. Vol. 1, 212:13-213:04).
                                                                                   7
                                                                           JOINT STATEMENT
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                                             viii.      Phone Records and Text Messages Produced to Date Contradict Critical
                             1                          Portions of Ms. Silva’s Deposition Testimony
                             2          On the one hand, Ms. Silva testified she didn’t have any contact with Mr. Macfarlane while he
                             3   was in possession of Cedar, Gordon Decl. ¶ 21, Ex. 6 (Silva Dep. Vol. 1 63:02-03); she didn’t know
                             4   that Mr. Macfarlane had Cedar, id. at ¶ 22, Ex. 6 (Silva Dep. Vol. 1 62:02-24; 64:13-15; 69:18-24);
                             5   she “didn’t have a say” in what happened to Cedar, id. at ¶ 23, Ex. 6 (Silva Dep. Vol. 1 68:06-07); she
                             6   “never knew” Cedar was killed on July 28, id.; and that she “just wasn’t curious” about Cedar and
                             7   "didn't give it as much thought as [Plaintiffs’ counsel] is saying[,]” id., Ex. 6 (Silva Dep. Vol. 1 123:02-
                             8   124:03; 183:01-15).
                             9          On the other hand, on July 11—the same day Mr. Macfarlane texted Mrs. Muse “Talked to
                            10   sheriff and he said to wait until he talks to DA before we kill goat”—Ms. Silva emailed Mrs. Muse
                            11
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                                 the Dahle’s invoice for Cedar, and wrote, “Hi Kathie, I have attached their bills. I appreciate the
                            12   update!” Gordon Decl. ¶ 35, Ex. 20. Plaintiffs contend this email indicates a previous and recent
                            13   conversation about Cedar. On July 18, sometime after 10:29 am, Ms. Silva texted Mr. Macfarlane,
                            14   “The word goat makes my eye twitch now                                [,]” to which Mr. Macfarlane texted
                            15   Ms. Silva, “It should. Lol[.]” Id. at ¶ 36, Ex. 9. On July 22, the phone call sequence involving Ms.
                            16   Silva as described supra takes place. Additionally, on July 22, as described supra, Ms. Silva and Mr.
                            17   Macfarlane text about their cover story as to Cedar’s ultimate disposition, and Ms. Silva provides the
                            18   name of the relevant employee at company who ultimately butchers Cedar. On July 25 at 3:15 pm,
                            19   Ms. Silva called Mr. Macfarlane and the two had a short conversation. Id. at ¶ 39, Ex. 12. Later that
                            20   day at 3:31 pm, Mr. Macfarlane called Ms. Silva and the two spoke for over 5 minutes. Id. On July
                            21   28, Mr. Macfarlane texted Ms. Silva, “Goat is getting butchered within the half hour. Finally.” Id. at
                            22   ¶ 38, Ex. 11.
                            23                ix.       Mr. Macfarlane Retracts Prior Deposition Testimony
                            24          In the second volume of his deposition, Mr. Macfarlane stated that Ms. Silva and Mrs. Muse
                            25   were in contact with the Sheriff’s Department and the District Attorney, and that he has never spoken
                            26   with Sheriff Johnson regarding Cedar. Gordon Decl., ¶¶ 40-42, Ex. 13 (Macfarlane Dep. Vol. 2,
                            27   250:08-251:08; 269:20-23).
                            28          B.       Mrs. Long Serves Subpoenas for Records of Ms. Silva’s Work and Personal Cell
                                                                                    8
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                                                 Phones
                             1
                                         Mrs. Long served subpoenas as set forth supra at Section I. Verizon stated it cannot produce
                             2
                                 records pursuant to either subpoena based on the following:
                             3
                                       Pursuant to Cal. Code. Civ. Pro. Section 1985.3(f) and Cal. Public Utilities Code
                             4         section 2891, Verizon requires that the subpoenaing party provide us with consent from
                                       the account holder that is billed for the phone number requested. Otherwise, Verizon
                             5         considers the subpoena invalid and will not release the records unless we receive a
                                       court order requiring us to produce the records notwithstanding section 2891. See, e.g.,
                             6         Ades v. Omni Hotels Mgmt. Corp., 2015 U.S. Dist. LEXIS 65493 (C.D. Cal. May 18,
                                       2015) (the Court concludes that, under section 2891, the information sought should not
                             7         be released to plaintiffs without the subscribers' express consent.).
                                 Gordon Decl. ¶ 45, Ex. 14; ¶ 48, Ex. 16.
                             8
                                         Mrs. Long now requests this Court order the Custodian of Records at Verizon to comply with
                             9
                                 subpoenas for Mrs. Silva’s work and personal cell phones.
                            10
                                         C.      The Subpoenaed Phone Records are Relevant and Discoverable
                            11
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                                         Ms. Silva’s work (XXX-XXX- 4949) and personal cellular (XXX-XXX- 0058) phone records
                            12
                                 are both relevant and discoverable. Under Fed. R. Civ. P. 45, any party may serve a subpoena
                            13
                                 commanding a nonparty “to attend and give testimony or to produce and permit inspection and copying
                            14
                                 of” documents. Fed. R. Civ. P. 45(a)(1)(C). Further, “At any time, on notice to the commanded person,
                            15
                                 the serving party may move the court for the district where compliance is required for an order
                            16
                                 compelling production or inspection.” Fed. R. Civ. P. 45(d)(2)(B)(i).
                            17
                                         Fed. R. Civ. P. 26(b) establishes the scope of discovery and states in pertinent part, “For good
                            18
                                 cause, the court may order discovery of any matter relevant to the subject matter involved in the action.
                            19
                                 Relevant information need not be admissible at trial if the discovery appears reasonably calculated to
                            20
                                 lead to the discovery of admissible evidence.” Relevance is “construed broadly to encompass any
                            21
                                 matter that bears on, or that reasonably could lead to other matter that could bear on, any issue that is
                            22
                                 or may be in a case.” Oppenheimer Fund, Inc., v. Sanders, 437 U.S. 340, 351 (1978). Cell phone
                            23
                                 records of parties, like those at issue in the instant dispute, are recognized as relevant. See, e.g., Murray
                            24
                                 v. City of Carlsbad, 2010 U.S. Dist. LEXIS 63933, *5 (S.D. Cal. June 25, 2010) (explaining “phone
                            25
                                 records are discoverable if for no other reason than the impeachment of Officer Luc.”). The subpoena
                            26
                                 is subject to the relevance requirements set forth in Rule 26(b). The Rutter Group, Federal Civil
                            27
                                 Procedure Before Trial § 11:2305 (2005).
                            28
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                             1          Good cause exists here. The facts of this case are the epitome of bad faith. Defendants here all

                             2   allege Mrs. Muse was the victim of a theft—despite the fact that no one ever paid for Cedar and,
                             3   regardless, Mrs. Muse received replacement meat for the Government Barbecue. See Gordon Decl. ¶

                             4   35, Ex. 8 (Silva Vol. 2 Dep. 431:14-20). Plaintiffs have diligently conducted discovery in this matter
                             5   and, to date, it is still unclear why Cedar’s slaughter was delayed until July 28, 2022, particularly in
                             6   light of calls from Plaintiffs’ counsel from July 15-27, 2022. Plaintiffs contend telephone records of
                             7   Ms. Silva will help fill the gaps in this case. This is critical in light of the fact Ms. Silva’s testimony
                             8   contradicts texts and phone logs already discovered. Ms. Silva testified she didn’t have any contact
                             9   with Mr. Macfarlane while he was in possession of Cedar, Gordon Decl. ¶ 21, Ex. 6 (Silva Dep. Vol.
                            10   1 63:02-03); she didn’t know that Mr. Macfarlane had Cedar, id. at ¶ 22, Ex. 6 (Silva Dep. Vol. 1,
                            11   62:02-24; 64:13-15; 69:18-24); she “didn’t have a say” in what happened to Cedar, id. at ¶ 23, Ex. 6
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                            12   (Silva Dep. Vol. 1 68:06-07); she “never knew” Cedar was killed on July 28, id.; and that she “just
                            13   wasn’t curious” about Cedar and "didn't give it as much thought as [Plaintiffs’ counsel] is saying[,]”
                            14   id., Ex. 6 (Silva Dep. Vol. 1 123:02-124:03; 183:01-15).
                            15          But Ms. Silva’s above statements under oath are contracted by discovery produced to date. For
                            16   example, on July 22, 2022, as described supra, Ms. Silva and Mr. Macfarlane text about their cover
                            17   story as to Cedar’s ultimate disposition (i.e., “It got killed and donated to non profit if anyone asks”),
                            18   and Ms. Silva provides the name of the relevant employee at the company who ultimately butchers
                            19   Cedar. Gordon Decl. ¶ 37, Ex. 10. On July 28, Mr. Macfarlane texted Ms. Silva, “Goat is getting
                            20   butchered within the half hour. Finally.” Id. at ¶ 38, Ex. 11; see also id. at 35, Ex. 20. Clearly, Ms.
                            21   Silva did talk to Mr. Macfarlane and knew how and when Cedar was killed. Mr. Macfarlane’s phone
                            22   records also reflects calls with Ms. Silva when he had Cedar. Id. at ¶ 39, Ex. 12.
                            23          Mr. Macfarlane’s testimony has also changed from one deposition sitting to the next—first
                            24   stating he spoke to Sheriff Johnson, and later retracting and stating Ms. Silva and Mrs. Muse were in
                            25   contact with the Sheriff’s Department and the District Attorney. Gordon Decl. at ¶ 30, Ex. 7
                            26   (Macfarlane Dep. Vol. 1, 204:01-205:08); id. at ¶¶ 40-42, Ex. 13 (Macfarlane Dep. Vol. 2, 250:08-
                            27   251:08; 269:20-23). In this regard, Mrs. Silva’s work cell (XXX XXX-4949) and personal cell (XXX
                            28   XXX-0058) phone records are relevant because they may reveal with whom Ms. Silva spoke on July
                                                                                    10
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                             1   22 before calling Mr. Macfarlane; may reveal what further phone conversations, if any, Ms. Silva had

                             2   with other defendants, CDFA, and law enforcement officials, or the District Attorney’s office, around
                             3   critical dates; and may serve as a basis for impeachment.

                             4          “A party cannot object to a subpoena duces tecum served on a nonparty, but rather, must seek
                             5   a protective order or make a motion to quash.” I.R. v. City of Fresno, 2014 WL 1419305, **2-3 (E.D.
                             6   Cal. Apr. 11, 2014); see also Pennwalt Corp. v. Durand–Wayland, Inc., 708 F.2d 492, 494 n. 5 (9th
                             7   Cir.1983) (“Once the person subpoenaed objects to the subpoena ... the provisions of Rule 45(d) come
                             8   into play. Then the party seeking discovery must obtain a court order directing compliance.”). Verizon
                             9   has not objected on the basis of relevance and, therefore, has waived that objection.
                            10          D.      Non-Party Verizon Demands A Court Order Based On Meritless Objections
                            11          Verizon has withheld documents based on meritless objections based on California Public
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                            12   Utility Code § 2891 and California Code of Civil Procedure section 1985.3(f). Gordon Decl. ¶ 45, Ex.
                            13   14; ¶ 48, Ex. 16.
                            14          § 1985.3(f) provides:
                            15          A subpoena duces tecum for personal records maintained by a telephone corporation
                                        which is a public utility, as defined in Section 216 of the Public Utilities Code, shall
                            16          not be valid or effective unless it includes a consent to release, signed by the consumer
                                        whose records are requested, as required by Section 2891 of the Public Utilities Code.
                            17
                            18   California Public Utility Code § 2891 provides:
                            19          No telephone or telegraph corporation shall make available to any other person or
                                        corporation, without first obtaining the residential subscriber's consent, in writing, any
                            20          of the following information:
                            21               (1) The subscriber’s personal calling patterns, including any listing of the telephone
                                                 or other access numbers called by the subscriber, but excluding the
                            22                   identification to the person called of the person calling and the telephone
                                                 number from which the call was placed, subject to the restrictions in Section
                            23                   2893, and also excluding billing information concerning the person calling
                                                 which federal law or regulation requires a telephone corporation to provide to
                            24                   the person called.
                            25          Both of these objections are improper. First, the subpoenaed records are for cellular telephones
                            26   and § 2891 (which both objections arise out of) “does not appear to apply to cell phone records.” Kaur
                            27   v. City of Lodi (E.D. Cal 2016) 2016 WL 10679575, at *1; Kamalu v. Walmart Stores, Inc., 2013 WL
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                             1   4403903 at *6, (E.D. Cal. 2013) (explaining § 2891(a) applies only to “residential subscribers,” and

                             2   does not apply to subpoenas for cell phone records).
                             3            Next, “Cal Civ. Proc. Code § 1985.3(a) is, by its terms, inapplicable to subpoenas issued in

                             4   federal court cases.” Kaur v. City of Lodi, supra, at *1. Lastly, “[a]ssertions of privileges in federal
                             5   question cases are governed by federal common law,” Hutton v. City of Martinez, 219 F.R.D. 164, 166
                             6   (N.D. Cal. 2003), not the law of the forum state. See, e.g., Fed. R. Evid. 501; United States v. Zolin,
                             7   491 U.S. 554, 562 (1989); Kerr v. United States District Court for the Northern District of California,
                             8   511 F.2d 192, 197 (9th Cir. 1975); Jackson v. County of Sacramento, 175 F.R.D. 653, 654 (E.D. Cal.
                             9   1997); see also Cooley v. City of Vallejo, 2013 U.S. Dist. LEXIS 155175, **20-21 n. 4 (E.D. Cal. Oct.
                            10   29, 2013) (“federal law governs here.”). “It obviously would make no sense to permit state law to
                            11   determine what evidence is discoverable in cases brought pursuant to federal statutes whose central
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                            12   purpose is to protect citizens from abuses of power by state or local authorities.” Miller v. Pancucci,
                            13   141 F.R.D. 292, 297-98 (C.D. Cal. 1992); see also Kelly v. City of San Jose, 114 F.R.D. 653, 661
                            14   (N.D. Cal. 1987) (recognizing the “profound[] importan[ce]” of federal civil rights laws).
                            15            As Verizon has asserted no appropriate objections, the Court should order production of the
                            16   cellular records at issue, including the work cell (XXX XXX-4949) and personal cell (XXX XXX-
                            17   0058).
                            18            E.     Ms. Silva’s Objections Based On Privacy, Relevance, and Overbreadth Should
                                                 Be Overruled
                            19
                                          Ms. Silva’s attorney objected to Mrs. Long’s subpoena on the basis of privacy, relevance, and
                            20
                                 overbreadth. The privacy objection is improper as to the work cell because there is no expectation of
                            21
                                 privacy on a work line. See Herbalife International of America, Inc. v. Ford, 2009 WL 10715605, at
                            22
                                 *5 (C.D. Cal. Mar. 6, 2009.) Regardless, Plaintiffs will agree to limit their use of the records to this
                            23
                                 lawsuit alone, redact sensitive information, and not disseminate them to third parties. Additionally,
                            24
                                 the records sought are not overbroad, as they merely seek phone and text logs records for
                            25
                                 approximately two months—specifically, between June 25, 2022, the date Cedar was removed,
                            26
                                 through September 1, 2022, the day this lawsuit was filed. With respect to relevance, the records are
                            27
                                 relevant for the reasons stated in previously.
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                             1   IV.    DEFENDANT SILVA’S CONTENTIONS

                             2          Counsel for Ms. Silva did not provide language for inclusion as of close of business on March
                             3   6, 2024.

                             4
                             5                                               ADVANCING LAW FOR ANIMALS
                             6
                                 Dated: March 6, 2024                        By:    /s/Ryan Gordon
                             7                                               Ryan Gordon
                                                                             Vanessa Shakib
                             8                                               Attorneys for Plaintiffs
                             9
                            10
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                             1                                       PROOF OF SERVICE
                             2   I, Ryan Gordon, declare:
                             3          I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                 and not a party to the within action. My business address is 407 N. Pacific Coast Hwy. #267,
                             4   Redondo Beach, CA 90277.
                             5         On March 6, 2024, I served on the interested parties in this action the following
                                 document(s) described as PLAINTIFF JESSICA LONG’S STATEMENT OF DISCOVERY
                             6
                                 DISAGREEMENT RE PRODUCTION OF SUBPOENAED DOCUMENTS FROM NON-
                             7   PARTY VERIZON RELATED TO DEFENDANT MELANIE SILVA’S WORK CELL
                                 PHONE (ECF 54) AND PERSONAL CELL PHONE (ECF 55)
                             8
                                 ý By placing ý a true copy thereof enclosed in a sealed envelope addressed as follows:
                             9
                                  CHRISTOPHER M. PISANO,                           JOHN C. BRIDGES
                            10                                                     CALIFORNIA DEPARTMENT OF JUSTICE
                                  christopher.pisano@bbklaw.com
                            11    DAMIAN A. NORTHCUTT,                             Tort and Condemnation Section
ADVANCING LAW FOR ANIMALS




                                  Damian.Northcutt@bbklaw.com                      1300 I Street, Suite 1210
                            12    JULIA HERNANDEZ                                  Sacramento, CA, 95814
                                  Julia.Hernandez@bbklaw.co                        John.Bridges@doj.ca.gov
                            13    BEST BEST & KRIEGER LLP 300
                                  South Grand Avenue 25th Floor                    Kelly J. Snowden, Esq.
                            14                                                     Kelly.snowden@rswslaw.com
                                  Los Angeles, California 90071
                            15                                                     Tonya.hamilton@rswslaw.com
                                  VERIZON
                            16    C/O Verizon Security Subpoena Compliance
                                  180 Washington Valley Road
                            17    Bedminster NJ 07921
                                  Fax: 1.888.667.0028.
                            18
                            19    ý BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s)
                                    set forth for Verizon at its request.
                            20    ¨ OVERNIGHT DELIVERY: I deposited such envelope in a facility regularly maintained by
                                    ý FEDERAL EXPRESS with delivery fees fully provided for or delivered the envelope to a
                            21      courier or driver of ¨ FEDERAL EXPRESS authorized to receive documents at 407 N. Pacific
                                    Coast Hwy, #267, Redondo Beach, CA 90277 with delivery fees fully provided for.
                            22    ý BY E-MAIL OR ELECTRONIC TRANSMISSION: The document(s) was sent from e-
                                    mail address rgordon@advancinglawforanimals.org to the persons at the e-mail addresses
                            23      listed in the Service List. I did not receive, within a reasonable time after the transmission, any
                                    electronic message or other indication that the transmission was unsuccessful.
                            24
                                  ý [Federal]     I declare that I am employed in the offices of a member of the State Bar of this
                            25                    Court at whose direction the service was made. I declare under penalty of perjury
                                                  under the laws of the United States of America that the above is true and correct.
                            26
                                 Executed on March 6, 2024, at Los Angeles, California.
                            27
                                                                                      /s/Ryan Gordon
                            28                                                               Ryan Gordon
                                                                                   14
                                                                           JOINT STATEMENT
